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                                                               February 16, 2018




   VIA ECF

   Hon. Katharine H. Parker
   Daniel Patrick Moynihan
   United States Courthouse
   500 Pearl St.
   New York, NY 10007-1312

   Re:    City of Almaty, Kazahkstan, et a!. v. Mukhtar Ablyazov, et a!., Case No. l:lS-cv-
          OS34S-AJN-KHP

   Dear Judge Parker,

          Our firm represents Viktor Khrapunov and Jlyas Khrapunov in the above matter. During

   oral arguments on BTAIAlmaty 's motion for sanctions, your honor granted the Khrapunovs

   permission to submit excerpts from Mr. Ilyas Khrapunov's deposition in Geneva, Switzerland on

   February I SI and 2 nd to put the testimony that BT AIAlmaty referenced during the argument in an

   appropriate context.   In enclosed testimony at pages 137-140 of the deposition, Mr. Ilyas

   Khrapunov describes attempts to hack his, his family's and other email accounts during the

   period of2012 and 2014.




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                                                              Respectfully submitted,


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                                                              John . Kenney            C:7-'
